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Court Telephone: (619) 557-5620    Court Hours: 9:00am-4:00pm, Monday-Friday
www.casb.uscourts.gov


RICHARD M KIPPERMAN
P.O. Box 3010
La Mesa, CA 91944
(619) 668-4500
Chapter 7Trustee

          UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF CALIFORNIA
             325 West F Street, San Diego, California 92101-6991
In Re


CORE SUPPLEMENT TECHNOLOGY, INC.,
                                                                                  BANKRUPTCY NO.   17-06078-MM-07

                                                                     Debtor.



                            TRUSTEE’S NOTICE OF PROPOSED ABANDONMENT OF PROPERTY


TO THE DEBTOR, ALL CREDITORS, AND OTHER PARTIES IN INTEREST:

         Pursuant to 11 U.S.C. § 554 and FRBP 6007(a), notice is hereby given that the undersigned Trustee for
this estate intends to abandon the following property:

PROPERTY TO BE ABANDONED:
Potential causes of action against officers or directors of the debtor for any breach of duty, neglect, error, misstatement,
misleading statement, omission or act by them in such respective capacities, or any such claims against them arising
out of their serving at the request of debtor as a director or officer of wholly-owned subsidiary Life Brand, LLC
(collectively, the "Abandoned Claims"); provided that the Abandoned Claims exclude any claims arising under the
Trustee's avoidance powers or rights under chapter 5 of the Bankruptcy Code to avoid or recover certain transfers,
including preferences or fraudulent transfers, and to void liens against, property of the estate.
ESTIMATED VALUE OF THE PROPERTY:
Unknown


LIENS AGAINST THE PROPERTY:
Unknown


         The property is to be abandoned because:

                 There is little or no equity in the property for the estate.

                  Costs of collection or litigation will probably exceed any recovery.

                  Preservation of the asset is burdensome to the bankruptcy estate.

                  Other:




        By abandoning the property, the Trustee is returning the property to the debtor because it cannot, for the reasons
stated above, be liquidated for the benefit of creditors. Requests for additional information about the proposed abandonment
should be directed to the Trustee named below.

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IF YOU OBJECT TO THE PROPOSED ABANDONMENT:

1.        You are required to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
          assigned to this bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the caption
          on Page 1 of this notice. If the case number is followed by the letters:

                    -         MM        -          call (619) 557-7407           -         DEPARTMENT ONE (Room 218)
                    -         LA        -          call (619) 557-6594           -         DEPARTMENT TWO (Room 118)
                    -         LT        -          call (619) 557-6018           -         DEPARTMENT THREE (Room 129)
                    -         CL        -          call (619) 557-6019           -         DEPARTMENT FIVE (Room 318)

2.        Within twenty-one (21)1 days from the date of this notice, you are further required to serve a copy of your
          Declaration in Opposition to the Abandonment and separate Request and Notice of Hearing [Local Form
          CSD 11842] upon the undersigned trustee, together with any opposing papers. A copy of these documents must
          also be served upon the United States Trustee at 880 Front Street, Suite 3230, San Diego, CA 92101. The
          opposing declaration must be signed and verified in the manner prescribed by FRBP 9011, and the declaration
          must :
                 a.      identify the interest of the opposing party; and

                    b.        state, with particularity, the factual and legal grounds for the opposition.

3.        You must file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service
          with the Clerk of the U.S. Bankruptcy Court at 325 West F Street, San Diego, California 92101-6991, no later than
          the next business day following the date of service.

        If you fail to serve your “Declaration in Opposition to the Abandonment” and “Request and Notice of
Hearing” within the 21-day1 period provided by this notice, no hearing will take place, you will lose your opportunity for
hearing, and the moving party may proceed to take the intended action.

Dated: October 26, 2018                                                 /s/ Richard M Kipperman
                                                                         Chapter 7 Trustee
                                                                         Address:     P.O. Box 3010
                                                                                      La Mesa, CA 91944

                                                                        Phone No.:        (619) 668-4500
                                                                        E-mail:           teresaj@corpmgt.com




1
 Depending on how you were served, you may have additional time for response. See FRBP 9006.

2
 You may obtain Local Form CSD 1184 from the office of the Clerk of the U.S. Bankruptcy Court.




CSD 2065
